                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 FEDERAL TRADE COMMISSION et al.,
                Plaintiffs,
                                                           CIVIL ACTION
                  v.
                                                           NO. 20-01113
 THOMAS JEFFERSON UNIVERSITY et
 al.,
                Defendants.


                                        ORDER

      AND NOW, this 8th day of December, 2020, it is ORDERED that the Complaint

(ECF 7) of the Federal Trade Commission and the Commonwealth of Pennsylvania

seeking a preliminary injunction against Defendants Thomas Jefferson University and

Albert Einstein Healthcare Network pursuant to Section 13(b) of the Federal Trade

Commission Act, 15 U.S.C. § 53(b), and Section 16 of the Clayton Act, 15 C.S.C. § 26, is

DISMISSED consistent with the accompanying Memorandum Opinion.


                                                      BY THE COURT:



                                                       /s/ Gerald J. Pappert
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                                                      GERALD J. PAPPERT, J.
